         Case 1:18-cr-00032-DLF Document 235 Filed 11/08/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                           Crim. No. 18-CR-32-2 (DLF)
              v.

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.

  GOVERNMENT’S SECOND SUPPLEMENTAL RESPONSE TO DEFENDANT’S
 MOTION TO DISCLOSE EX PARTE COMMUNICATIONS BETWEEN THE COURT
 AND THE GOVERNMENT REGARDING THE GOVERNMENT’S INTENTION TO
                 SEEK A SUPERSEDING INDICTMENT

       The United States of America, by and through undersigned counsel, respectfully submits

two additional proposed redactions to those proposed in its Response to Defendant Concord

Management and Consulting’s Motion to Disclose Ex Parte Communications Regarding the

Government’s Intention to Seek a Superseding Indictment [Dkt. No. 231] and its Supplemental

Response to Defendant Concord Management and Consulting’s Motion to Disclose Ex Parte

Communications Regarding the Government’s Intention to Seek a Superseding Indictment [Dkt.

No. 233]. The government hereby submits one additional proposed redaction to the Court’s

October 25, 2019 Minute Order, and one proposed redaction to the government’s Supplemental

Notice Regarding Superseding Indictment, filed on October 29, 2019. These proposed redactions

are consistent with the parties’ discussion with the Court during the sealed telephonic hearing of

November 7, 2019.




                                                1
         Case 1:18-cr-00032-DLF Document 235 Filed 11/08/19 Page 2 of 2



                                    Respectfully submitted,

JOHN C. DEMERS                                           JESSIE K. LIU
Assistant Attorney General for National Security         United States Attorney

By: /s/                                                  By: /s/
Heather N. Alpino                                        Jonathan Kravis, Luke Jones,
U.S. Department of Justice                               Kathryn Rakoczy
National Security Division                               U.S. Attorney’s Office, D.C.
950 Pennsylvania Ave. NW                                 555 Fourth Street NW
Washington, D.C. 20530                                   Washington, D.C. 20530




                                               2
